     Case 4:20-cr-00127-RSB-CLR Document 31 Filed 05/12/21 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA               )        CASE NO. 4:20-CR-127
                                       )
            v.                         )
                                       )
DEQUAN BENIMAN                         )

                                     ORDER

      Based upon the motion of the Government, and for good cause shown therein,

the Government’s motion for leave of absence is GRANTED for the following dates:

            a)    May 27, 2021 through and including June 2, 2021, for the purpose

                  of out-of-district personal travel.

            b)    June 24, 2021 through and including June 25, 2021, for the

                  purpose of out-of-district personal travel.

      IT IS FURTHER ORDERED that should a hearing be set during those dates,

a substitute Assistant United States Attorney may handle the matter.

      SO ORDERED, this WK day of May 2021.



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                                                         0$*,675$  $7( JJUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
